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                     Exhibit 10D
                  TO UNITED STATES’ BILL OF COSTS
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 01/08/16            TV                            |TV:              MFKPS0126
 PAGE   2 ** Read Privacy Act On Last Page ** |McNulty               ****-*0020

================================================================================
(11)ITINERARY AND TRANSPORTATION EXPENSES - TRIP NO                1

 DATE        TIME DEPARTED/ARRIVED LOCATIONS MODE       COST             DESCRIPTION
---------- ------- -------------------------- ----- ------------------- ----------------
06/29/2014         D-RES: Gaithersburg, MD
06/29/2014         A-NEW ORLEANS,LA
06/29/2014                                    1POC                 21.84 1POC-Private Vhcle
                                                             Distance: 39 Rate: .56

06/29/2014                                      AIR                 412.00*Airline Flight
06/29/2014                                      CAB                  40.00 Taxi
06/29/2014                                      NONE                 27.19*TMC Transaction Fees
07/02/2014         D-NEW ORLEANS,LA
07/02/2014         A RES: Gaithersburg, MD
07/02/2014                                      1POC                 21.84 1POC-Private Vhcle
                                                               Distance: 39 Rate: .56

07/02/2014                                      CAB                  39.00 Taxi
                                                       -------------------
                TOTAL TRANSPORTATION EXPENSES                       561.87

================================================================================
(12)SUBSISTENCE AND OTHER REIMBURSABLE EXPENSES

      ACTUAL        LODGING      MEALS M&IE         P-DIEM
DATE LODGING        ALLOWED      B L D ALLOW        RATE     OTHER EXPENSES   AMOUNT
----- ----------- ------------- - - - ------------ ------ ----------------- -------------------
06/29                                                      Hotel Tax                       4.65
06/29      151.00         151.00              53.25 151/71
                                                                                           0.00
06/30                                                      Hotel Tax                       4.65
06/30      151.00         151.00              71.00 151/71
                                                                                           0.00
07/01                                                      Hotel Tax                       3.90
07/01      108.00         108.00              71.00 108/71
                                                                                           0.00
07/02                                                      Parking Fees                   40.00
07/02         0.00          0.00              53.25 108/71
                                                                                           0.00
             ------------------- ------------------                         -------------------
                          410.00             248.50                                       53.20

===(13)COMMENTS:================================================================
 CBA OBLIGATION #:00565537 Organization ID:143015 TRAVELER PO#:00565536
 PREPARED BY: Gale Heim, 301-427-8442.


VER=CIV===RATE TBL DATE=05/27/14================================================
Copyright 1989-2006 Gelco Information Network GSD, Inc.

  * Expense not claimed for reimbursement.

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                                                                             Witness Fees_320
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                                                               Witness Fees_321
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                                                               Witness Fees_322
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                                                       ADTRAV
                                                4555 Southlake Pkwy
                                                Birmingham, AL 35244
                                                 Phone 205-444-4800
                                                  Fax 205-444-4826


National Oceanic & Atmospheric Administration (NOAA)                                               Sale Invoice No: 446701
DC                                                                                                  Date Issued: 6/10/2014
                                                                                                  Agent: Patterson/Pamela




Traveler                        Department      Depart Date      Return Date     Remarks
    Type            Ticket/Conf No         Airline/Vendor                              Total Fare
         From                   To                      Flight     A/L Depart                  Arrive
Mcnulty/Sara A                                  6/29/2014        7/2/2014     MFKPS0126-1-9-14
    Dom. Air        2422676749             Southwest                                      412.00
         BWI Baltimore          MSY New Orleans         4121       WN 6/29/2014 7:55:00 AM 6/29/2014 9:30:00 AM
         MSY New Orleans        BWI Baltimore           1623       WN 7/2/2014 2:20:00 PM      7/2/2014 5:55:00 PM

Payments Applied To This Invoice
MC 55-XXXX-8457             Received      6/10/2014        Pymt For Inv                 -412.00
                                                           #446701
                                                                                        -412.00


                                                                                 Invoice Total:          412.00
                                                                               Payment Total:           -412.00
                                                                                Balance Due:               0.00




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                                                         ADTRAV
                                                  4555 Southlake Pkwy
                                                  Birmingham, AL 35244
                                                   Phone 205-444-4800
                                                    Fax 205-444-4826


National Oceanic & Atmospheric Administration (NOAA)                                                  Sale Invoice No: 446702
DC                                                                                                     Date Issued: 6/10/2014
                                                                                                     Agent: Patterson/Pamela




Traveler                          Department      Depart Date      Return Date      Remarks
    Type              Ticket/Conf No         Airline/Vendor                               Total Fare
         From                     To                      Flight    A/L    Depart                 Arrive
Mcnulty/Sara A                                    6/10/2014                         MFKPS0126-1-9-14
    Service Fee       0621942085             Service Fees ARC                                 27.19

Payments Applied To This Invoice
MC 55-XXXX-8457             Received        6/10/2014       Pymt For Inv                    -27.19
                                                            #446702
                                                                                            -27.19


                                                                                   Invoice Total:            27.19
                                                                                 Payment Total:             -27.19
                                                                                  Balance Due:                0.00




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